_ Case 2:23-ap-01173-VZ Doc 37 _ Filed 05/30/24 Entered 06/20/24 16:59:49 Desc

Main Document

EUGENE KIM-ASSIGNEE OF RECORD
453 S SPRING ST STE 400

LOS ANGELES CA 90013

Phone #: 213-800-4989

APPEARING IN PRO SE

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FILED
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RT
LERK U.S. BANKRUPTCY COU

CALIFORNIA
CENTRAL DIST, wT Ce lry clerk

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UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION

In re:

| SPECTRUM LINK, INC.,

Debtor. VS.

Case No. 2:21-bk-16403-VZ
Chapter 7
Adversary No.: 2:23-ap-CH7®VZ

oM73

| HOWARD M. EHRENBERG, Chapter 7

|
|

Trustee,
Plaintiff,

vs.

MILLENNIUM MARKETING
CONCEPTS INC., a California
corporation, UNITED CARE
RESIDENTIAL, INC., a California

corporation, and ALEX MUKATHE, an
individual,

Defendants.

NOTICE OF AND
ACKNOWLEDGEMENT OF
ASSIGNMENT OF JUDGMENT.

ACKNOWLEDGMENT OF ASSIGNMENT OF JUDGMENT -1-

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COMES NOW, Plaintiff HOWARD M. EHRENBERG, Chapter 7 Trustee., in the above
captioned matter, and moves the Court to hereby accept this Notice of and Assignment of

Judgment. In support thereof, the following information is provided:

1) THAT the original Judgment was entered on or about 2/22/2024.

2) THAT Judgment was entered in favor of Plaintiff and against Defendant.

Alex Mukathe.

3) THAT the Court awarded a judgment in the total amount of $20,150.00.

4) THAT there have been no renewals since the entry of said judgment by this Court
and that Plaintiff has received $00.00 of judgment from Defendant.

5) THAT, HOWARD M. EHRENBERG, Chapter 7 Trustee is the judgment creditor of
record.

6) THAT the last address of record for the judgment debtor was 8608 Parrot Avenue
Downey, CA 90240.

7) THAT I/we hereby authorize, without limitation, the transfer and assignment of all title,
rights, interests and authority, and all other rights in law and/or equity be it past present or future,

in said judgment to the following person:

EUGENE KIM
453 S SPRING ST STE 400
LOS ANGELES CA 90013

8) THAT I/we relinquish all claim of right/s in the above captioned matter to Assignee as

a full and final assignment, and pray the Clerk of the Court file this Notice of and

ACKNOWLEDGMENT OF ASSIGNMENT OF JUDGMENT -2-

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' || Signed this_28tN day of__May _, 2024 at__Los Angeles

3 || Signature: CY

4 || HOWARD M. EHRENBERG, Chapter 7 Trustee.

ACKNOWLEDGMENT OF ASSIGNMENT OF JUDGMENT -3-

